                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


ZILIANG J.,                                         Case No. 25‐CV‐1391 (PJS/DLM)

                     Plaintiff,

v.                                                               ORDER

KRISTI NOEM, Secretary of Department of
Homeland Security, in her official capacity;
TODD LYONS, Acting Director of
Immigration and Customs Enforcement, in
his official capacity; and U.S.
IMMIGRATION & CUSTOMS
ENFORCEMENT,

                     Defendants.


       Cameron Lane Youngs Giebink, David L. Wilson, Gabriela Sophia
       Anderson, and Katherine Lourdes Santamaria Mendez, WILSON LAW
       GROUP, for plaintiff.

       This matter is before the Court on plaintiff’s emergency motion for a temporary

restraining order (“TRO”) against defendants Kristi Noem, Todd Lyons, and U.S.

Immigration & Customs Enforcement (“ICE”) (together “defendants”). For the reasons

that follow, the Court grants the motion.

                                    I. BACKGROUND

       Plaintiff is a citizen of the People’s Republic of China who has lawfully resided in

the United States since August 25, 2019, when he was admitted pursuant to an F‐1 visa.

ECF Nos. 1 ¶ 8, 7 ¶ 2. Plaintiff is currently enrolled as a full‐time student in a master’s
degree program in geographic information science and cartography at the University of

Minnesota’s Twin Cities campus. ECF No. 7 ¶ 2.

        ICE is responsible for administering the student visa program and tracking

information on students in F‐1 status through the Student and Exchange Visitor

Program. ECF No. 1 ¶ 13. Under 8 U.S.C. § 1372, such students are tracked in an

electronic record system known as the Student Exchange Visitor Information System

(“SEVIS”). Plaintiff alleges that ICE takes the position that termination of a student’s

SEVIS account requires the student to immediately depart the United States. ECF No. 1

¶ 87.

        During his time in the United States, plaintiff has twice received parking tickets

and once been cited for speeding. ECF No. 7 ¶¶ 6–7. He has also been cited for driving

with a suspended license, but that case was dismissed. Id. ¶ 6. Plaintiff paid all of the

fines that were imposed as a result of these offenses, and he has never been subject to

academic discipline. Id. ¶¶ 7–8.

        On April 8, 2025, ICE terminated plaintiff’s student status in the SEVIS system.

ECF No. 8‐4. ICE identified the reason for the termination of his status as follows:

“Individual identified in criminal records check and/or has had their VISA revoked.

SEVIS record has been terminated.” Id. ICE did not inform plaintiff that his status had

been terminated. ECF No. 7 ¶ 9. Instead, he learned about the termination of his SEVIS



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status when the University of Minnesota sent him an email on April 8, 2025, notifying

him of the change. Id. ¶ 9.

       Plaintiff filed this action on April 14, 2025.1 ECF No. 1. He brings three claims

under the Administrative Procedure Act (“APA”) and a claim for a declaratory

judgment, contending that terminating his SEVIS status was contrary to the

Immigration and Nationality Act and its implementing regulations, violated the Due

Process Clause of the Fifth Amendment, and was arbitrary and capricious. Plaintiff

seeks injunctive as well as declaratory relief.

       Plaintiff now moves for a TRO to temporarily enjoin defendants from

terminating his status in the SEVIS system and to require defendants to set aside their

termination decision.

                                        II. ANALYSIS

       In considering a motion for a TRO, courts consider four factors: “(1) the threat of

irreparable harm to the movant; (2) the state of balance between this harm and the

injury that granting the injunction will inflict on other parties litigant; (3) the probability

that movant will succeed on the merits; and (4) the public interest.” Dataphase Sys., Inc.

v. C L Sys., Inc., 640 F.2d 109, 114 (8th Cir. 1981); see also Tumey v. Mycroft AI, Inc., 27



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       The Court notes that, just as this order was about to be docketed, plaintiff filed
an amended complaint. The allegations underlying the Courtʹs conclusions, however,
remain the same.

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F.4th 657, 665 (8th Cir. 2022) (“[T]he standard for analyzing a motion for a temporary

restraining order is the same as a motion for preliminary injunction.”). No one factor is

determinative, and the court should “weigh the case’s particular circumstances to

determine whether the balance of equities so favors the movant that justice requires the

court to intervene.” Hubbard Feeds, Inc. v. Animal Feed Supplement, Inc., 182 F.3d 598, 601

(8th Cir. 1999) (internal quotation marks omitted). The moving party bears the burden

to establish that these factors weigh in favor of granting temporary relief. See, e.g.,

Watkins Inc. v. Lewis, 346 F.3d 841, 844 (8th Cir. 2003).

       Here, based on the record now before the Court, the Court concludes that all four

factors weigh in favor of granting plaintiff’s requested TRO.

       As to the first factor, the Court finds that plaintiff plainly faces irreparable harm.

plaintiff is in the middle of the semester, for which he has already paid $17,739.23 in

tuition. ECF No. 7 ¶¶ 1, 18; ECF No. 8‐2. He is at imminent risk of being forced to drop

his courses for this semester, and he is at risk of being prevented from registering for

classes for next semester, as the University cannot allow him to proceed with his studies

without an active student status on the SEVIS system. ECF No. 7 ¶¶ 16–17. More

broadly, plaintiff faces the loss of the many years and many thousands of dollars he has

invested in pursuing his degree. Id. ¶ 14. Because both the United States and the




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University of Minnesota enjoy sovereign immunity, plaintiff may be unable to recover

his financial losses.

       In addition, plaintiff is now present in the United States with his legal status

uncertain. This confusion about his legal status threatens imminent harm in at least two

ways. First, it may subject him to immediate detention and deportation. Id. ¶ 10.

Second, it causes him to accumulate unlawful presence in the United States, which is

likely to impede or prevent him from becoming a permanent resident in the future. Id.

¶¶ 12, 13.

       As to the second factor, the only apparent basis for defendants’ action is

plaintiff’s history of minor traffic violations, the most recent of which took place in

December 2023. ECF No. 7 ¶ 7. Enabling plaintiff to remain in status and continue his

studies while the Court sorts through the legal issues in this case poses no plausible risk

of injury to defendants.

       As to the third factor, the Court finds on the basis of the current record that

plaintiff is likely to succeed on the merits. Government agencies are generally required

to follow their own regulations. See, e.g., United States ex rel. Accardi v. Shaughnessy, 347

U.S. 260, 265 (1954); Fed. Defs. of N.Y., Inc. v. Fed. Bureau of Prisons, 954 F.3d 118, 130 (2d

Cir. 2020). Plaintiff alleges that, when defendants terminated his status in the SEVIS

system, they violated their own regulations and thereby violated the APA. See 8 C.F.R.



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§ 214.1(d) (providing that termination of a non‐citizen’s nonimmigrant status may be

accomplished by (1) revoking a waiver authorized on the non‐citizen’s behalf, (2) the

introduction of a private bill to confer permanent‐resident status on the non‐citizen, or

(3) a notification in the Federal Register on the basis of national security, diplomatic, or

public‐safety reasons). Defendants do not appear to have terminated plaintiff’s status

pursuant to any of these three courses of action. The record does not indicate that there

was any relevant waiver to revoke. Nor does the record reflect that a private bill for

permanent residence has been introduced, or that any notification in the Federal

Register has been published.

       Finally, as to the fourth factor, the Court finds that there is a substantial public

interest in ensuring that government agencies comply with federal law. Indeed, the

Court cannot imagine how the public interest might be served by permitting federal

officials to flaunt the very laws that they have sworn to enforce.

       For these reasons, the Court grants plaintiff’s request for temporary relief and, in

its discretion, the Court waives the bond requirement under Fed. R. Civ. P. 65(c). The

Court also finds good cause to issue this order without notice, as defendants took the

challenged action without notice, giving rise to a real risk that plaintiff might be

detained or deported without notice and before he can serve defendants.




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                                       ORDER

     Based on the foregoing, and on all of the files, records, and proceedings herein,

IT IS HEREBY ORDERED THAT:

     1.    Plaintiff’s motion for a temporary restraining order [ECF No. 4] is

           GRANTED.

           a.     Defendants are ORDERED to temporarily set aside their

                  determination to classify plaintiff’s F‐1 student status as

                  terminated.

           b.     Defendants are ORDERED to reinstate plaintiff’s student status in

                  the SEVIS system, backdated to April 8, 2025.

           c.     Defendants are temporarily ENJOINED from taking any further

                  action to terminate plaintiff’s student status.

           d.     Defendants are ENJOINED from directly or indirectly enforcing,

                  implementing, or otherwise taking any action or imposing any

                  legal consequences as the result of the decision to terminate

                  plaintiff’s SEVIS records, including revoking plaintiff’s visa,

                  detaining him, or deporting him.

     2.    Plaintiff is ORDERED to serve defendants with the summons, complaint,

           motion papers, and a copy of this order as soon as possible.



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     3.     The Court will hold a hearing on Thursday, April 24, 2025, at 2:30 pm to

            consider whether to convert the TRO into a preliminary injunction.

            Defendants’ brief in response to plaintiff’s motion is due no later than

            Monday, April 21, 2025. Plaintiff may file a reply no later than

            Wednesday, April 23, 2025.

     4.     Pursuant to Fed. R. Civ. P. 65(b)(2), this order will expire 14 days from the

            date of entry unless the Court extends it for good cause shown or

            defendants consent to an extension.


Dated: April 17, 2025, at 9:15 a.m.         s/Patrick J. Schiltz
                                            Patrick J. Schiltz, Chief Judge
                                            United States District Court




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